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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 22-cr-178 (SRN/DTS)

 UNITED STATES OF AMERICA,                       )
                                                 )
                      Plaintiff,                 )
                                                 )
        v.                                       )
                                                      ORDER OF DETENTION
                                                 )
 DEVEON MARQUISE BRANCH,                         )
                                                 )
                      Defendant,                 )
                                                 )

       This matter came before the Court on August 22, 2022, for a hearing upon the

motion of the United States for an Order of Detention. Mr. Branch was present and

represented by his attorney, Glenn P. Bruder. The United States was represented by

Assistant United States Attorney Samantha H. Bates.

       Mr. Branch is charged by Indictment with one count of possession of a machinegun

and one count of felon in possession of a firearm. There was a bond report prepared in this

case, which recommended detention, finding that Mr. Branch presented a risk of non-

appearance and a danger to the community.

       Based on all the information before the Court, the Court concludes that the

government has shown by a preponderance of the evidence that no condition or

combination of conditions will reasonably ensure the defendant’s appearance at future

court proceedings. The Court also concludes that there has been a clear and convincing

showing that no condition or combination of conditions of bond will reasonably ensure the
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safety of the community. Accordingly, the Court grants the government's motion for

Detention.

                FINDINGS OF FACT AND CONCLUSIONS OF LAW

       Under 18 U.S.C. § 3142, pretrial detention may be ordered either upon a clear and

convincing showing that release will result in a danger to the community or upon a showing

by a preponderance of the evidence that release will result in a serious risk of flight. The

Court finds that detention is justified in order to ensure the safety of the community and

ensure the defendant’s appearance at future court proceedings.

       The defendant poses a risk of flight due to the gravity of the charged offense,

criminal history, and record of failures to appear. The defendant poses a danger to others

and the community based on the instant offense, prior arrests and convictions, and prior

history of violence and use of weapons.

                                     CONCLUSION

       Based upon the evidence presented, the United States has made a clear and

convincing showing that no condition or combination of conditions of bond will reasonably

ensure the safety of the community, and has made showing by a preponderance of the

evidence that no condition or combination of conditions will ensure the defendant’s

appearance at future court appearances. Accordingly,

       IT IS HEREBY ORDERED that:

       1.     The motion of the United States for detention of Mr. Branch is granted;




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      2.      Mr. Branch is committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.      Mr. Branch shall be afforded reasonable opportunity to consult privately with

his lawyer; and

      4.      Upon Order of the Court or request by the United States Attorney, the person

in charge of the corrections facility in which Mr. Branch is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with a court

proceeding.


Dated: August 22, 2022                   s/Becky R. Thorson
                                         The Honorable Becky R. Thorson
                                         United States Magistrate Judge




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